    8:23-cv-00400-RFR-SMB Doc # 9 Filed: 10/17/23 Page 1 of 3 - Page ID # 17




                             UNITED STATES DISTRICT COURT
                                 DISTRICT OF NEBRASKA

 ALEJANDRO VALLESILLO,
                                                  Case No.: 8:23-cv-00400-RFR-SMB
                Plaintiff,

                        v.                        Honorable Judge Robert F. Rossiter, Jr.

 SECURITY CREDIT SERVICES, LLC;
                                                  Magistrate Judge Susan M. Bazis
                Defendant.


                  DEFENDANT’S RULE 12(b)(2) MOTION TO DISMISS

   Defendant, Security Credit Services, LLC (“Defendant” or “SCS”), by and through

undersigned counsel, and pursuant to Federal Rule of Civil Procedure 12(b)(2), hereby submits

this Rule 12(b)(2) Motion to Dismiss the Complaint of Plaintiff, Alenjandro Vallesillo

(“Vallesillo” or “Plaintiff”) for lack of personal jurisdiction, and in support thereof states as

follows:

   1. For all the reasons stated and argued in the Memorandum of Law filed contemporaneously

herewith and hereby incorporated by reference, Defendant moves this Court to dismiss Plaintiff’s

Complaint for lack of personal jurisdiction.


       WHEREFORE, Defendant Security Credit Servies, LLC respectfully requests that this

Honorable Court grant its Motion, dismiss the Complaint of Plaintiff, Alejandro Vallesillo, for

lack of personal jurisdiction, and for such other and further relief that the Court deems just and

appropriate.

Dated: October 17, 2023                                     Respectfully Submitted,

                                                    SECURITY CREDIT SERVICES, LLC

                                                            /s/ Luke K. Chamberlain
8:23-cv-00400-RFR-SMB Doc # 9 Filed: 10/17/23 Page 2 of 3 - Page ID # 18




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                                   2
    8:23-cv-00400-RFR-SMB Doc # 9 Filed: 10/17/23 Page 3 of 3 - Page ID # 19




                                CERTIFICATE OF SERVICE

I hereby certify that on October 17, 2023, a true and accurate copy of the foregoing was filed with
the Clerk of Court using the CM/ECF system which will automatically send notification of such
filing to all attorneys of record.

                                                            /s/ Luke K. Chamberlain
                                                            Luke K. Chamberlain

                                                            Counsel for Defendant.




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